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UNITED STATES DISTRICT COURT

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WESTERN DISTRICT OF LOUISIANA

 

SHREVEPORT DIVISION

UNITED sTATEs oF AMERICA CRIMINAL No. M__

VERSUS
(01) BRANT R. LANDRY, Judge Foote
(02) MIKE l\/IOSURA, and,
(03) JULIE LANDRY MAGISTRATE JUDGE HORNSBY
INDICTMENT
THE GRAND JURY CHARGES:
Q_(MM
Conspiracy

21 U.S.C. §§ 841(a)(1) and 846

Beginning on a date unknown, but at least by on or about January 1, 2016, and
continuing through to on or about l\/lay 22, 2018, in the Western District of Louisiana
and elsewhere, the defendants, BRANT R. LANDRY, MIKE MOSURA, JULIE
LANDRY, and other persons known and unknown to the Grand Jury, did knowingly
and intentionally conspire and agree together to distribute and to possess with the
intent to distribute anabolic steroids, a Schedule III controlled substance, without
lawful authority, in Violation of Title 21, United States Code, Sections 841(a)(1) and

846.[21 U.S.o. §§ 841(3)(1) and 846].

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COUNT 2
Possession with lntent to Distribute Anabolic Steroids
21 U.S.C. § 841(a)(1)

On or about l\/[ay 22, 2018, in the Western District of Louisiana, the defendant,
BRANT R. LANDRY, did knowingly and intentionally possess with intent to
distribute anabolic steroids, a Schedule lll controlled substance, without lawful
authority, in violation of Title 21, United States Code, Section 841(a)(1). [21 U.S.C. §
841(&)(1)]

COUNT 3
l\/lanufacture Anabolic Steroids
21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2

Beginning on a date unknown, but at least by on or about January 1, 2016, and
continuing through to on or about l\/lay 22, 2018, the defendant, BRANT R. LANDRY
did knowingly and intentionally manufacture anabolic steroids, a Schedule lll
controlled substance, without lawful authority, in Violation of Title 21, United States
Code, Section 841(a)(1). [21 U.S.C. § 841(a)(1)]

COUNT 4
Possession of a Firearm in Relation to a Drug Trafficking Offense
18 U.S.C. § 924(c)

On or about May 22, 2018, in the Western Distriot of Louisiana, the defendant,
BRANT R. LANDRY, did knowingly possess a firearm, to wit: a (1) Ruger, (2) High
Point Rifle, (3) Remington 870 Shotgun, (4) DPMS AR-15 Rifle, (5) Taurus Firearm,
and (6) Sig Sauer Firearm in relation to a drug trafficking crime for which he may be

prosecuted in a court of the United States, to wit: Possession with lntent to Distribute

Anabolic Steroids, as alleged in Count 2, all in Violation of Title 18, United States

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United States Code, Section 924(0)(1)(A). [18 U.S.C. § 924(c)(1)(A)]
C_QL\T_'_I`_F>
l\/lisprision of a Felony
18 U.S.C. § 4

On or about May 22, 2018, in the Western District of Louisiana, and elsewhere,
the Defendant, JULIE LANDRY, having knowledge of the actual commission of a
felony cognizable by a court of the United States, to wit, Possession with lntent to
Distribute Anabolic Steroids pursuant to Title 21 United States Code, Section
841(a)(1), did conceal the same by causing anabolic steroids to be removed from a
residence in anticipation that said residence would be searched by law enforcement,
and did not as soon as possible make known the same to some judge or other person
in civil or military authority under the United States, all in violation of Title 18,
United States Code, Section 4. [18 U.S.C. § 4]

FORFEITURE NOTICE

The allegations in all counts are re-alleged and incorporated by reference for
the purpose of alleging forfeiture pursuant to the provisions of Title 21, United States
Code, Section 853, Title 18, United States Code, Section 924(d)(1) and Rule 32.2(a) of
the Federal Rules of Criminal Procedure.

A. Upon conviction of the controlled substances and firearms offenses
alleged and set forth above of this lndictment, the defendants, BRANT R. LANDRY
MIKE MOSURA, and JULIE LANDRY, shall forfeit to the United States all of their
interest in:

1. Any property consisting or derived from proceeds the defendants

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obtained directly or indirectly as the result of said violations as set forth
in this lndictment, which include the specific amounts set forth below;
and,
2. Any property including firearms used or intended to be used in
any manner or part to commit or facilitate the commission of the
aforementioned violations
B. By virtue of the offenses charged in this indictment, any and all interest
in the above-described property is Vested in the United States and is forfeited to the
United States pursuant to Title 21, United States Code, Section 853, Title 18, United
States Code, Section 924(d)(1) and Rule 32.2(a) of the Federal Rules of Criminal
Procedure.
C. The property referred to in paragraphs A and B above includes, but is
not limited to, the following:
(1) a Ruger;
(2) High Point Rifle;
(3) Remington 870 Shotgun;
(4) DPl\/IS AR-15 Rifle;
(5) Taurus Firearm; and

(6) Sig Sauer Firearm

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All in accordance with Title 21, United States Code, Section 853, Title 18,

United States Code, Section 924(d)(1) and Rule 32.2(a) of the Federal Rules of

Criminal Procedure.

A TRUE BILL: DAVID C. JOSEPH
United States Attorne

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